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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

IN RE:

Sean S. Buboltz and
Heather M. Buboltz,

      Debtors.                                        CASE NO. 10-06382-CPM
                                                      CHAPTER 11
___________________________________/

 MOTION FOR RECONSIDERATION OF ORDER CONFIRMING CHAPTER 11 PLAN

TO THE HONORABLE JUDGE OF SAID COURT:
      COMES NOW, WELLS FARGO BANK, NA, its successors and/or assigns, (“Creditor”),
a secured creditor and party in interest in the above-styled cause, seeking Reconsideration of the
Order Granting Chapter 11 Plan pursuant to Fed. R. Civ. P. 59(e), as incorporated by Fed. R.
Bankr. P. 9023, and Fed. R. Civ. P. 59(e) 60 as incorporated by Fed. R. Bankr. P. 9024 and would
show the Court as follows:
         1.     WELLS FARGO BANK, NA (“Creditor”) holds a secured first mortgage on the
real property located at 3913 Sorrel Vine Drive Wesley Chapel, Florida 33543 (“the collateral”),
by virtue of a Mortgage which is recorded at Book 7444, Page 542 in the Public Records of Pasco
County, Florida.
         2.     On July 14, 2010, Debtors filed a Chapter 11 Plan of Reorganization [DE #33].
On November 5, 2010, Debtors filed the Amended Chapter 11 Plan of Reorganization [DE
#102].
         3.     On April 22, 2010, Creditor filed its Proof of Claim (Claim # 3-1), reflecting a
secured claim in the amount of $385,763.23 at an interest rate of 5.875% pursuant to the Note.
The copy of the Note was attached as an exhibit to Creditor’s Proof of Claim.
         4.     On April 5, 2011, the Court entered an Order confirming the Debtors’ Chapter 11
plan [DE #121].
         5.     Article C.1. Class II (2) of Debtor’s Chapter 11 plan provides for the treatment of
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Creditor’s secured claim. More specifically, Debtors’ Plan proposes to pay Creditor’s Claim in
the amount of $385,763.23 at four percent (4%) interest amortized over thirty (30) years with
principal and interest payments of $1,800.00 per month until paid in full. The subject property
is the Debtor’s principal residence.
       6.     Creditor seeks reconsideration of the Order Confirming the Debtor’s Chapter 11
Plan because Creditor’s security instrument is not subject to any modification as the collateral is
the Debtor’s principal residence. 11 U.S.C. 1123(b)(5) provides in pertinent part that:
                      “(b) Subject to subsection (a) of this section, a plan may—
                              (5) modify the rights of holders of secured claims, other than a
       claim secured only by a security interest in real property that is the debtor’s
       principal residence, or of holders of unsecured claims, or leave unaffected the rights of
       holders of any class of claims;…”. [emphasis added].
       7.     The Bankruptcy Code prohibits modification of the note and mortgage terms under
11 U.S.C. §1123(b)(5). Debtors’ plan may not modify the rights of a holder of a claim secured
only by a security interest in real property that is the Debtors’ principal residence. Creditor’s
claim is secured by the Debtor’s principal residence.
       8.     Secured Creditor was not provided with an opportunity for hearing on this
Amended Plan. The Plan contains a provision that violates the anti-modification provision in
section 11 U.S.C. 1123(b)(5). Creditor respectfully requests reconsideration based on the standard
set for in Kellogg which states grounds for granting reconsideration are “newly discovered
evidence or manifest errors of law or fact.” In re Kellogg, 197 F.3d 1116, 1119 (11th Cir. 1999).
       9.     Although Creditor failed to raise an Objection in a timely manner, Creditor
respectfully requests an opportunity to be heard regarding modification of its security instrument
which is prohibited by the Bankruptcy Code.
       10.    The Debtors’ Plan improperly suggests that the contractual interest rate of 5.875%
will be modified to 4%. Moreover, Debtor’s confirmed plan reflects a monthly Principal and
Interest payment in the amount of $1,800.00 when in fact the monthly payment would be
$1,841.69 even if a modification to 4% was permissible.
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      WHEREFORE, WELLS FARGO BANK, NA respectfully requests that this Court grant
its Motion for Reconsideration of Order Confirming Chapter 11 Plan and grant it such additional
relief as the Court deems just and proper.


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                                                   By: /s/ Stefan Beuge
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                                                   NA
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing Motion for Reconsideration of Order

Confirming Chapter 11 Plan has been furnished by electronic Mail or U.S. Mail to all parties

listed below and on the attached mailing matrix on April 13, 2011.

Sean S. Buboltz and Heather M. Buboltz
3913 Sorrel Vine Drive
Wesley Chapel, FL 33544

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115 N. MacDill Ave.
Tampa, FL 33609
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U.S. Trustee
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501 E. Polk St., Suite 1200
Tampa, FL 33602
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Local Rule 1007-2 Parties in Interest

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Label Matrix for local noticing                             DocCo.
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                                                                                                        of 5 Company
113A-8                                       PO Box 10388                                    c/o Scott Weiss
Case 8:10-bk-06382-CPM                       Des Moines, IA 50306-0388                       1800 NW 49th Street Suite 120
Middle District of Florida                                                                   Fort Lauderdale, FL 33309-3092
Tampa
Wed Apr 13 15:05:05 EDT 2011
Aurora Loan Services                         Aurora Loan Services                            Bank of America
c/o Law Offices of David J. Stern, PA        10350 Park Meadows Drive                        PO Box 21848
Attn: Frederick J. DiSpigna, Esquire         Lone Tree, CO 80124-6800                        Greensboro, NC 27420-1848
900 South Pine Island Road, Suite 400
Plantation, FL 33324-3920

Bank of America, N.A                           Bank of America, N.A.                         Citimortgage, Inc.
c/o Frederic J Dispigna, Esq                   c/o Smith, Hiatt & Diaz, PA                   PO Box 6006
900 S Pine Island Road, Suite 400              Attn: Roy A. Smith, Esquire                   The Lakes, NV 88901-6006
Plantation, FL 33324-3920                      PO Box 11438
                                               Fort Lauderdale, FL 33339-1438

Diane Nelson, CFC Tax Collector, Pinellas Co   Florida Foreclosure Attorneys, PLLC           GMAC Mortgage, Inc.
Attn: Robin Ferguson, CFCA                     601 Cleveland Street, Suite 690               c/o Frederic J. DiSpigna, Esquire
Tax Manager                                    Clearwater, FL 33755-4171                     900 South Pine Island Road, Suite 400
PO Box 10834                                                                                 Plantation, FL 33324-3920
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GMAC Mortgage, LLC                             Hillsborough Cty Tax Col                      Suntrust Bank
c/o Phelan Hallinan, PLC                       PO Box 172920                                 PO Box 791274
Attn: Jonathan Blackmore, Esquire              Tampa, FL 33672-0920                          Baltimore, MD 21279-1274
888 SE 3rd Avenue, Suite 201
Ft. Lauderdale, FL 33316-1159

Waterside at Coquina Key N                     Wells Fargo                                   End of Label Matrix
c/o Leonard J. Mankin                          PO Box 14411                                  Mailable recipients   16
2535 Landmark Dr, Ste 102                      Des Moines, IA 50306-3411                     Bypassed recipients    0
Clearwater, FL 33761-3930                                                                    Total                 16
